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                IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION




  UNITED      STATES    OF AMERICA                  *


          vs.                                       *                CR       117-034


  REALITY       LEIGH   WINNER                      *




                                            ORDER




          Pursuant to 18 U.S.C. § 3145(b), Defendant Reality Leigh

  Winner has filed an appeal from the United States Magistrate

  Judge's       Detention           Order    of    October          5,    2017.1        After   an

  independent and de novo review of the detention proceedings

  before       the    Magistrate          Judge,        the   arguments          of   counsel   in

  brief, and the relevant law, the Court finds that detention is

  appropriate and therefore affirms the Detention Order.



                                     I.     LEGAL       STANDARD


          When the Government seeks to detain a defendant pending

  trial       under    the    Bail     Reform Act,            the    Court      must    determine

  whether       any     "condition          or    combination            of    conditions    will

  reasonably assure the appearance of the person as required and




          1      Section       3145(b)           contemplates            that     the    detained
   defendant         will    file    a motion to          revoke         the   detention order
   rather than an "appeal."    Because there is no substantive
   difference, the Court will use the term chosen by Defendant.
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  the safety of any other person and the community."                           18 U.S.C.

  § 3142(e)(1).            A hearing for that purpose will be conducted

  upon   motion       of   the    Government      in   a    case   that   involves       "a

  serious      risk     that     such    person    will     flee."2       18   U.S.C.     §

  3142(f)(2)(A).               The      Government         bears   the       burden      of

  demonstrating a serious risk of flight by a preponderance of

  the evidence.            United States v.        Medina,     775 F.2d 1398,          1402

   (11th Cir.    1985) .

         This Court's review of the Magistrate Judge's decision is

  de novo.       United States v. Hurtado,              779 F.2d 1467,         1481 (11th

  Cir.       1985)     (stating      that    the       district     court       "is     not

  constrained to look for abuse of discretion or to defer to the


  judgment       of    the     prior     judicial      officer"       when     reviewing

  detention decisions).                 In assessing the Government's proof,

  the Court shall consider the following relevant factors:                              (1)

  the nature and circumstances of the offense charged;                           (2)    the



         2    The Government cannot move for detention on the basis
  that Defendant poses a danger to the community under 18 U.S.C.
  § 3142(f) (1) because she does not meet any of the criteria set
  forth therein. United States v. Giordano, 370 F. Supp. 2d
  1256, 1258-62 (S.D. Fla. 2005); accord United States v. Twine,
  344 F.3d 987 (9th Cir. 2003); United States v. Bvrd, 969 F.2d
  106, 110 (5th Cir. 1992); United States v. Friedman, 837 F.2d
  48   (2d Cir.       1988);     United States v. Himler,          797 F.2d 156         (3d
  Cir.       1986).        Importantly,       the      "dangerousness"          of     this
  Defendant      is    still a     factor to be considered under 18 U.S.C.
  § 3142(g)(4).    Giordano, 370 F. Supp. 2d at 1261 n.l.
  Moreover, the "dangerousness" of Defendant as a factor also
  "emanates" from § 3142(e) (l)'s requirement that the Court
  consider whether any condition(s) may reasonably assure the
  safety of the community.  See King, 849 F.2d at 487.
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  weight of the evidence against Defendant;                  (3) the history and

  characteristics of Defendant,               including character,         physical

  and   mental       condition,      family    ties,     employment,       financial

  resources,     length of residence in the                 community,     community

  ties, past conduct, history relating to drug or alcohol abuse,

  criminal history, and record concerning appearances at court

  proceedings; and (4) the nature and seriousness of the danger

  to    any   person    or    the    community       that    would   be    posed   by

  Defendant's release.          18 U.S.C. § 3142(g).           In conducting the

  review,     this    Court may rely entirely on              the pleadings        and

  evidence     developed during the Magistrate                 Judge's     detention

  proceedings,       or it may conclude that additional evidence is

  necessary and conduct             its own evidentiary hearing.              United

  States v. King, 849 F.2d 485, 490 (11th Cir. 1988).                      Here, the

  Court has determined that another hearing would not aid in

  this decision, particularly because the Court had the benefit

  of the transcripts          of two prior detention hearings               and the

  thorough     and     reasoned      briefs     of     counsel.      Further,       no

  additional     evidence     is    required,    and there        are no    relevant

   factual    disputes       that    require     further      evidence.        Thus,

   Defendant's request for a hearing on this matter is denied.
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                                         II.     ANALYSIS


          On appeal,          Defendant argues that the Magistrate Judge

  ignored certain favorable evidence,                          made findings that are

  unsupported          by    the    evidence,          and    as    a   whole,        improperly

  balanced the evidence.                      Consequently,         the Magistrate Judge

  erred in finding that Defendant is a serious risk of flight.

  Defendant       also       argues      that    the       Magistrate     Judge          failed to

  consider factors and conditions that would reasonably assure

  the safety of the community and her appearance at trial.

          After conducting a de novo review of the entire record,

  including the transcripts of the two detention hearings,                                     the

  Court        finds    that       the   Order        of     Detention        accurately       and

  thoroughly sets forth both the facts and the law.                                        Despite

  Defendant's           contentions,            the        Magistrate         Judge       properly

  considered the factors giving rise to detention and properly

  concluded       that       no    condition         or    combinations        of     conditions

  would        reasonably         assure      the     safety       of   the    community       and

  Defendant's appearance at trial.                         This Court will now examine

  the   factors        set    forth      in    the    Bail    Reform Act,           18    U.S.C.   §

   3142(g),       all       of     which       weigh        against      Defendant,          while

  addressing Defendant's assertions of error on appeal.

          A.      Nature and Circumstances of the Offense Charged

          Defendant          is charged with a violation of                      18      U.S.C.    §

   793(e), which provides in relevant part:
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              Whoever having unauthorized possession                                     of,
         access to, or control over any document .
         related             to    the      national         defense,         willfully
         communicates, delivers, transmits, or causes to be
         communicated, delivered or transmitted . . . to
         any person not entitled to receive it . . . shall
         be fined ... or imprisoned.

  The    Magistrate               Judge        concluded        that    the        "nature        and

  circumstances           of      the     offense      weigh     in    favor       of    detention

  because      of      the    ongoing risk to             national      security posed by

  releasing Defendant . . . ."                      (Detention Order, at 2. )                   While

  a violation of 18 U.S.C. § 793(e) does not create a rebuttable

  presumption in favor of detention,3 the superseding indictment

  nevertheless charges that Defendant willfully transmitted a

  classified,           top-secret4            document      without     authority          to     an

  online      news      outlet,         which    was   not      entitled      to    receive       it.

   (See generally Superseding Indict., Doc. 72.)                              A plain reading

  of    the   indictment            demonstrates          the    serious       nature      of     the


  offense.         Coupled with evidence that Defendant had access to

  classified information during her service in the Air Force and

  with       the       NSA,       particularly          in      light    of        the     "covert




         3    Contrary to Defendant's emphasis on this point, the
   fact that the offense charged does not                              create a rebuttable
  presumption of detention is not determinative of this
  particular factor; if it was, there would be no reason to list
  this factor as an independent relevant consideration.

         4         A    document          is    classified        "TOP     SECRET          if     the
  unauthorized disclosure of that information could be expected
  to cause exceptionally grave damage to the national security. "
  (Superseding Indict., SI 3 (emphasis added).)
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  communications package" (discussed infra) that she had created

  around the time of taking the NSA position and her apparent

  antipathy toward the United States of America, the gravity of

  Defendant's        alleged       crime   is     unassailable.            The   fact   that

  Defendant        has    been     charged      with    one       count-related    to     one

  transmission of one document-does not mitigate the                               serious

  nature of the offense,             especially given that the matter may

  affect national security.5

        B.         Weight   of the Evidence


        At    the    time    of the execution of the                 search warrant of


  her home,         Defendant admitted to               FBI       Special Agent     Justin

  Garrick that she willfully secreted the classified document

  out   of    the    NSA    and mailed       it    to       the   online    news   outlet,

  which      did    not     have    authority          to    receive    it.6       (Tr.    of


       5 Defendant harps on the fact that she has only been
  charged with the disclosure of "one document, one time, to one
  recipient, with no allegations of financial gain."      (E.g.,
  Def.'s Appeal Br., Doc. 128, at 13.)     The Court finds this
  fact to be of little importance because it may reasonably be
  said that the Government caught this Defendant before any more
  damage could be done.    Indeed, Defendant had only recently
  begun her employment with the NSA contractor,         Pluribus
  International,   and had only recently researched how to
  disclose information to news outlets anonymously.        Also,
  financial gain is not the only reason a person may disclose
  classified information to a news outlet.                         These other takes on
  the "only once" argument are reasonable given the evidence
  discussed infra regarding Defendant's development of a "covert
  communications package," her antipathy toward America, and her
  research into living and working abroad.

       6    In fact,   Defendant initially denied taking any
  document out of the NSA building. (Tr. of Interview, at 08145-
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   Interview, Doc. 100, Ex. A, at 08161-62.) While Defendant has

  disputed the specific elements of this crime, particularly

  whether the classified document was related to the national

  defense7 and whether she possessed the requisite mens rea to

  be     found      guilty,          at     this   point       in    the    proceeding,       her

  admission to these relevant facts appear to hit upon all the

  elements         of    the    crime.


          Defendant           complains that the Magistrate                    Judge did not

  consider that the initial statements to the FBI                                    during the

  execution         of       the    search warrant         are       subject    to    a pending

  motion to suppress.                 The motion to suppress, however, has not

  been fully vetted and is certainly not resolved; thus, at this

  point       it    is       immaterial.            Besides,         in    addition     to    the

  admissions            to    the Special Agent,               Defendant has          also made

  statements to her sister that she "screwed up" and that she

  "leaked a document."                      (Detention Hr'g Tr.,             Sept. 29, 2017,

  Doc.    109,     Ex.       6.)     The use of the word "leaked" indicates a




  46.) And, when she admitted that she had printed a classified
  document, she initially claimed to have placed it in the burn
  bag and denied taking it out of the building or mailing it to
  anyone.  (Id. at 08152-08158.)  This suggests a certain level
  of deception.

          7    As pointed out by the Magistrate                             Judge,    Defendant
  admitted         that       she    knew    the    document         contained       information
  regarding         sources           and     methods      of       collecting       classified
   information           that       would    be    valuable         to    adversaries    of   the
  United States.               (Detention Order,           at    4; Tr.      of Interview,     at
   08172.)

                                                    7      !
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  certain       consciousness             of           wrongdoing           because        lawful

  possession and transmission would not be                                 called a "leak."

  Moreover,      as    expressed         by    the       Magistrate        Judge   (Detention

  Order, at 3) , the investigatory facts which led the FBI to the

  independent conclusion that Defendant was the source of the

  leaked document will be compelling evidence against her.8

         C.     History and Characteristics of Defendant

         The    Court        first   notes             that   Defendant        believes       the


  Magistrate Judge overlooked the positive characteristics and

  history of Defendant,              such as           her honorable         service to the

  country, her humanitarian aspirations, her strong family ties,

  and her lack of a criminal history.                              In point of       fact,    the

  Magistrate Judge opened his discussion of this factor noting:

  "Characteristics           weighing         in   favor      of     Defendant's      pretrial

  release      are    her    service      in       the    Air      Force,    clean    criminal



         8     At     the    detention         hearing        on     September       29,    2017,
  Special Agent Garrick testified that of the six individuals
  that printed the subject document, only two had printed both
  the Intelligence Report and the attachment, both of which
  ended up in the possession of the online news outlet.   Of the
  two, the investigation revealed that the document was printed
  by Defendant on May 9, 2017, that the document was mailed from
  Augusta, Georgia on May 10, 2017, and that Defendant had
  contacted the recipient news media outlet.     (Detention Hr'g
  Tr., Sept. 29, 2017, at 22-24.)       The investigation also
  revealed that on the day the classified document was printed,
  Defendant had researched online how to anonymously submit
   information        to    two   news    outlets.            (Id.    at    27.)   After     that
  date, Defendant performed several searches for those news
  outlets and information related to the potential leak of
  classified information to see "if leaked information had been
  published by those particular media outlets."                                (Id. )

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  history, and loving and committed parents."                               (Detention Order,

  at    5.)      The       Magistrate          Judge       then    went    on     to   find     that

  negative       factors          outweighed the positive,                  pointing to her

  state of mind, few community ties, and past relevant conduct.

  Specifically, the Magistrate Judge found compelling evidence

  to    support           this     finding:          "Defendant       admittedly          'hates'

  America,      misused a top-secret computer during her Air Force

  career, admires Edward Snowden and Julian Assange,                                    and began

  preparations            to     leak classified            information         from the        very

  outset of her work as an NSA subcontractor."                               (Id. )     Defendant

  takes       particular          umbrage      at    the       characterization          that    she

  "hates"       America          and    that   she       "admires"     Edward      Snowden       and


  Julian Assange.

          Upon a de novo review of the evidence submitted at the

  detention          hearing       of    September         29,    2017,     particularly         the

  testimony          of    Special       Agent       Garrick,       this    Court       similarly

  concludes       that         the negative implications                   from the      evidence

  pertaining to            Defendant's          character,          her mental         state,    her

  conduct       in    the      months     before         her     arrest,    and    her    lack    of

  community ties significantly outweigh the positive aspects of

  her family ties,               commendable service in the Air Force,                          care

  for   environmental              issues      and       animals,    humanitarianism,            and

  lack of       criminal         record.


          The    Court will             now recount         the    evidence that         supports

  this finding:

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               On November 9,          2016, while in the waning days                   of
               her service in the Air Force, Defendant researched
               whether a top secret computer will detect a thumb
               drive.   On this same day, Defendant inserted a
               thumb  drive  into   a  top  secret  computer  for
               approximately two minutes.                    (Detention Hr'g Tr.,
               Sept.    29,    2017,    at 48-49.)       The Government has not
               located the thumb drive.


               Immediately           after     removing       the         thumb    drive,
               Defendant printed a top siecret intelligence report
               which was "not associated in any way with [her]
               duties/assignments." The Government does not know
               what Defendant did with the document.                       (Id.   at 4 9.)

               Defendant performed multiple searches for jobs
               requiring a security clearance in November 2016 at
               the   same     time    that    she   researched      for     information
               pertaining to the Taliban and for information about
               an organization called Anonymous, an affiliation of
               hackers.       (Id.    at 50-51.)

               In      handwritten            notes j apparently              regarding
               employment opportunities,               Defendant writes "I want
               to    burn     the    whitehouse      down.     Find        somewhere    in
               Kurdistan to live ... or Nepal haha maybe."                            (Id.
               at 32,    Ex.    7.)

               Included        in     Defendant's       handwritten          notes     are
               references to Taliban military leaders.     (Id. at
               37, Ex. 7.)     Defendant also performed internet
               searches in October, November, and December of 2016
               for the Taliban media website, the Taliban office
               in Qatar, and the Taliban YouTube channel.   (Id. at
               37-38,    Ex.    8.)

               Other internet searches involve traveling, working
               and living in Kuridstan, Iraq, Afghanistan, Jordan
               and Palestinian territories, to include information
               pertaining to flights to Kurdistan and Erbil,
               moving to Palestine,    and obtaining visas for
               Kurdistan and Afghanistan.  (IdL at 40-42, Ex. 8.)

               On February 7, 2017, two days prior to her first
               day of employment with the NSA contractor, Pluribus
               International,          Defendant captured a screenshot of
               how to securely drop information to eight different
               news outlets.   The image is titled, "If you see
               abuse.    Leak it."           (Id.   at 26,   Ex.    4.)

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                On February 9, 2017, immediately after undergoing
                her   initial  security training    with  the  NSA,
                Defendant sent a message to her sister, in which
                she said of her security training "it was hard not
                to laugh" when the security officer said "*yeah so
                uh we have guys like Edward Snowden who uhh thought
                they were doing the right thing, but you know, they
                weren't so us we uh have to keep an eye out for
                that insider threat, especially with contractors.'"
                 (Id.    at 42-43,        Ex.    9.)

                On  February 25,    2017,  Defendant messaged her
                sister, "I have to take a polygraph where they're
                going to ask if I've ever plotted against the
                gov't.  #gonnafail." She; then said, "Look, I only
                say I hate America like 3 times a day."        When
                Defendant's sister asked, "But you don't actually
                hate America, right?", Defendant responded: "I mean
                yeah I do it's literally the worst thing to happen
                on the planet. We invented capitalism the downfall
                of the environment."                   (Id.   44,   Ex.   11.)

                On     March   7,    2017,       Defendant          messaged     her     sister
                that     Vault      79    was    "so     awesome"       and     that    it   had
                 "crippled the program." When her sister asked, "So
                 you're on Assange's side," Defendant responded,
                 "Yes.  And Snowden."   (IcL. at 45, Ex. 12.)

                 Defendant       wrote      notes       describing        how    to    download
                 and    install          Tor10   on     its     most      secure       setting;
                 researched how to swap SIM cards on her                                 phone;
                 researched     burner   email   accounts                                (e.g.,
                 slippery. email) ; and wrote down the URL                               for a
                burner email account.                  (Id.   at 32-36.)




          9 Vault 7 is Wikileak's alleged compromise of classified
   government information.                (Detention Hr'g Tr., Sept. 29, 2017,
   at 45.)

          10   The     Tor   network       "is   a     method    in    which     someone     can
   access the internet -- not only the internet, but also the
   deeper, dark web on a completely anonymous level." (Detention
   Hr'g Tr., Sept. 29, 2017, at 34.)        The Tor network was
   installed on a computer in Defendant's home on February 1,
   2017, several days after Defendant was hired by Pluribus
   International and ten days prior to her start date.   (Id. at
   34;   Tr.   of Interview,        at 08144.)

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                   On the note about the burner email account, there
                   is "specific identifying information related to
                   foreign  intelligence  targets   associated  with
                   terrorism activity being followed by the U.S.
                   Government as part   of  its national security
                   mission."          (Id. at 39-40.)

           The first point to take from this evidence is that the

   use of the word "hate" by the Magistrate Judge was not of his

   choosing, but was the word that Defendant herself used in her

   message to her sister.               "Hate" is also an apt word to describe

   a person's emotion that noted she would like to burn the White

   House down.          And while Defendant, through the testimony of her

   sister,      would pass this off as "hyperbole"                     (Detention Hr'g

   Tr.,    Sept.       29,    2017,   at 104),        the conclusion that Defendant

   hates America is justifiable.                      Also,    while Defendant offered

   other non-nefarious reasons that a person may research TOR,

   burner email accounts,                   and SIM cards,       Special Agent Garrick

   testified that "taken into its totality, it appears as though

   it's a covert communications package or could be one.                                . . .

   [It]    is      a    way     in     which     an    individual     can     communicate

   anonymously with another."                   (Id. at 36.)       The credit that the

   Magistrate Judge and this Court give to the agent's testimony,

   over Defendant's proffer that there are benign reasons                                 for

   each of these acts taken alone,                     is reasonable,       especially in

   light    of     evidence          that    Defendant        researched   ways    to    send

   information           to     news        outlets     anonymously        and    accessed

   classified information outside of her job duties.                              In short,


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   Defendant            attacks        the        Magistrate         Judge's           reasonable

   conclusions from the evidence as "sweeping" and "unsupported"

   (Def.'s Appeal Br. at 9), yet taking all the evidence in its

   totality,          the Court        finds the         Magistrate       Judge's       Detention

   Order to be sustainable and indeed,                           correct in its ultimate

   ruling.n

           In conclusion, the aforementioned evidence shows a person

   who sought out employment in a classified position with the

   intent to anonymously share information with news outlets and

   to cover her tracks while doing so.                       Defendant argues that she

   had a legitimate interest in the Middle East and religion,

   given        her    background          and   education.         She     also       has    strong

   humanitarian           and        environmental          bents,         as        well    as     an

   interesting           sense    of    humor,       that    can    explain          some    of    her

   comments.            But   Defendant's           gloss   on     the    evidence,          painted

   primarily through the testimony of her sister, is but one view

   of the story.              Certainly,         the Magistrate Judge and now this

   Court are free to reject Defendant's gloss-the minimalization

   of her admitted behavior-and accept the reasonable inference



           11    While Defendant quibbles with the Magistrate Judge's
   characterization             of   Defendant        as    an   admirer        of    Snowden      and
   Assange,           her comments to her sister endorse the conduct of
   these men.           No matter the word choice, the point to be taken
   from     the        evidence       is     that    Defendant           condoned       divulging
   classified information as                     she was    "on their       side."          What   the
   Magistrate Judge did not do in his Detention Order, contrary
   to Defendant's assertion, was equate Defendant's conduct to
   the "extreme conduct" of Snowden and Assange.    (See Def.'s
   Appeal Br.,          at 2.)

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   from the evidence that Defendant's past conduct and state of

   mind are      of    serious         concern.


          D.      Nature and Seriousness of Danger Posed by Release

          Having found that Defendant may have accepted a position

   with    the    NSA       with       intentions          to    leak     information       to       news


   outlets,       it    is       not    a    leap     to    find        Defendant's        potential

   release troubling.                  The classified document she printed and

   the thumb drive she inserted while in the employ of the Air

   Force are unaccounted for.                       Further, while the Government has

   not    been    able      to    conclude         that     Defendant          has   or   had   in    her


   possession other classified documents,                                it    has not concluded

   that she has not had further access to classified information.


   (Detention          Hr'g      Tr.,       Sept.    29,        2017,     at    91.)      Given       the

   uncertainty with respect to Defendant's level of knowledge or

   possession of classified information,                                together with evidence

   that she planned to anonymously release information to online

   news    outlets          and that         she    has    antipathy toward the                 United

   States,       the    Court      finds       that       releasing        Defendant        prior      to

   trial would pose a danger to the community,                                   particularly to

   the national security.

          As     discussed,            the   statutory          factors        for   consideration

   each weigh          in    favor      of    the    Government.               Additionally,          the

   Government has presented other sigriificant evidence relative

   to Defendant's risk of flight.                           As mentioned,            Defendant has

   few ties to this community,                      she has shown a strong intent to

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   live and work abroad,              and she has demonstrated an interest in

   matters of the Taliban.                   She even researched airline flights

   to Kurdistan and Erbil and work visas in Afghanistan.                                   This

   desire to live abroad is no doubt quickened by facing a felony

   charge    brought      by        United    States    of    America.        Further,      the

   Court    finds    that       Defendant's           fluency   in     Farsi,      Dari,     and

   Pashto would enable her to live and sustain herself in many

   Middle Eastern countries, and the $30,000 in her bank account

   will provide her with a start.                       Finally,      just prior to her

   arrest, Defendant demonstrated her propensity for travel with

   a three-day solo trip to                   Belize.        This    evidence      takes    the

   chances of    Defendant fleeing the jurisdiction of this Court

   beyond the mere theoretical and into the realm of probable.

   Indeed,    the Court         finds by a preponderance of the evidence

   that Defendant is a serious flight                       risk.


           Defendant      complains          that     the Magistrate        Judge    did not

   discuss, and therefore did not consider, whether the proposed

   conditions       on        her     release       would     reasonably        assure       her

   appearance.       The        Court,       however,    need       not    enunciate       every

   consideration         in    its    Order.     It    suffices      that   this   Court     has


   considered       the        proposed        conditions           (for    instance,        the

   surrender of her passport, the posting of a property bond, and

   her agreement to wear a monitoring: bracelet)                            and reasonably

   concludes that,            based upon evidence that Defendant does not

   wish to be in America, may even wish to cause harm to national

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   security,     and has        the means to live abroad,                     Defendant will

   flee   despite       these    conditions           and       assurances.           Moreover,

   Defendant's       promises         to    remain          in       the    county,     wear       a

   monitoring       bracelet,        and    refrain         from       internet      usage       and

   contact with         the media12 do not adequately protect against

   potential        further      unauthorized           disclosures.                 Classified

   information       cannot     be   retrieved         or       un-disclosed      once      it    is


   released, so the potential of harm to national security is too

   great a risk to place upon the promises of this Defendant.13

                                                            i

                                     III.    CONCLUSION


          Upon a de novo review of the record, the Court concludes

   that the Magistrate Judge did not err in ordering Defendant

   Reality Leigh Winner detained pending trial.                              While Defendant

   urges this Court to adopt its                      view of        the evidence,          indeed

   painting     a   very   different         picture            of   Defendant,       the   Court

   cannot      ignore    another      reasonable            and      supported picture            of


          12   The Government states in a footnote that Defendant had
   put a member of the media on her jail visitor list and that
   this visitor came to see Defendant in jail on October 14,
   2017.   While the jail terminated the visit, this encounter
   took place just a few days prior to Defendant filing her
   appeal.   (Gov't Br. in Opp'n, Doc. 131, at 18 n.7.)

        13  See King, 849 F.2d at 487 n.2 (explaining that the
   Senate Judiciary Committee intended a broad construction of
   "danger to the community" to encompass the risk that the
   defendant may engage in criminal activity to the detriment of
   the community (quoting the Report of the Senate Committee on
   the    Judiciary,       S.    Rep.      No.    98-225,            98th   Cong.,    2d     Sess.
   (1984))).

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     Defendant.     Through its considered view of the evidence, the

     Court finds by a preponderance of the evidence that Defendant

     is a serious flight risk and no condition or combination of

     conditions will reasonably assure the safety of the community

     (particularly        national      security)   or   the    appearance   of

     Defendant     as     required.       Accordingly,    the    Court   DENIES

     Defendant's     appeal     (doc.    128)    and AFFIRMS the Magistrate

     Judge's Detention Order of October 5, 2017.

           ORDER ENTERED at Augusta, Georgia, this              /A /'        day
     of November,       2017.




                                                         tee
                                          RANDAL! HALL, CHIEF JUDGE
                                      'UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF GEORGIA




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